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  The relief described hereinbelow is SO ORDERED.

  Signed June 06, 2020.


                                                __________________________________
                                                             Ronald B. King
                                                  Chief United States Bankruptcy Judge




                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

   In re:                                   §
                                            §        Chapter 11
   KrisJenn Ranch, LLC,                     §
                                            §
            Debtor                          §        Case No. 20-50805
                                            §
                                            §


   KrisJenn Ranch, LLC, KrisJenn Ranch,     §
   LLC–Series Uvalde Ranch, and KrisJenn    §
   Ranch, LLC–Series Pipeline ROW, as       §
   successors in interest to Black Duck     §
   Properties, LLC,                         §
                                            §        Adversary No. 20-05027
            Plaintiffs,                     §
                                            §
   v.                                       §
                                            §
   DMA Properties, Inc. and Longbranch      §
   Energy, LP,                              §
                                            §
            Defendants.                     §
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   DMA Properties, Inc.,                           §
                                                   §
          Cross-Plaintiff/Third-Party Plaintiff    §
                                                   §
   v.                                              §
                                                   §
   KrisJenn Ranch, LLC, KrisJenn Ranch,            §
   LLC–Series Uvalde Ranch, and KrisJenn           §          Adversary No. 20-05027
   Ranch, LLC–Series Pipeline ROW, Black           §
   Duck Properties, LLC, Larry Wright, and         §
   John Terrill,                                   §
                                                   §
          Cross-Defendants/Third-Party             §
          Defendants                               §
                                                   §

                                               ORDER

         On this day the Court considered Frank Daniel Moore’s Motion to Intervene. Having

  reviewed the parties’ briefing, the governing law, and the case file as a whole, the Court finds the

  motion is meritorious and should be granted.

         It is therefore ORDERED that Frank Daniel Moore’s Motion to Intervene is GRANTED.



                                                  ###
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  Moore respectfully requests that the following parties (in addition to counsel listed above)
  receive copies of this order if signed:

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